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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CROWN CASTLE USA, INC. and              )
PINNACLE TOWERS, LLC                    )
          Plaintiffs,                   )
                                        )
                                        )
  v.                                        Civil Action No:   1:14-cv-0122-JEC
                                        )
TELECOMMUNICATIONS                      )
CONTRACTING COMPANY,                    )
INC., and ADMIRAL INSURANCE             )
COMPANY,                                )
           Defendants.

     TELECOMMUNICATION CONTRACTING COMPANY, INC.’S
          CERTIFICATE OF INTERESTED PERSONS AND
            CORPORATE DISCLOSURE STATEMENT

      COME NOW TELECOMMUNICATION CONTRACTING COMPANY,

INC. (“TCC”), and, pursuant to Fed. R. Civ. P. 7.1 and L.R 3.3, hereby files its

Certificate of Interested Persons and Corporate Disclosure Statement as follows:

      1.      The undersigned counsel of record for a party to this action

certifies that the following is a full and complete list of all parties to this

action, including any party corporation and any publicly held corporation

that owns 10% or more of the stock of a party:

      Plaintiffs:         Crown Castle USA, Inc.

                          and

                          Pinnacle Towers, LLC
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      Defendants:         Telecommunications Contracting Company, Inc.

                          and

                          Admiral Insurance Company

      2.      The undersigned further certifies that the following is a full and

complete list of all other persons, associations of persons, firms, partnerships,

or corporations (having either a financial interest in or other interest which

could be substantially affected by the outcome of this particular case.

      Defendant TCC: Wireless Facilities, Inc.

      3.      The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this

proceeding:


      Plaintiffs:          John O’Shea Sullivan
                           Ashby K. Fox
                           Tala Amirfazli
                           Burr & Forman, LLP
                           171 17th Street NW, Ste. 1100
                           Atlanta, Georgia 30363

      Defendant TCC: Paul W. Burke
                     Myles Levelle
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                     Atlanta, GA 30309
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                     mlevelle@deflaw.com


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      Defendant
      Admiral Ins.
      Company:            Wade K. Copeland
                          Charles M. McDaniel
                          Erica L. Parsons
                          Carlock, Copeland & Stair, LLP
                          191 Peachtree St. NE, Ste. 3600
                          Atlanta, Georgia 30303

      This _14th_ day of January, 2014.

                                      Respectfully submitted,

                                      DREW ECKL & FARNHAM, LLP

                                      /s/ Paul W. Burke_______________
                                      Paul W. Burke
                                      Georgia Bar No. 095642

                                      _/s/ Myles Levelle _______________
                                      Myles Levelle
                                      Georgia Bar No. 313211

                                      Attorneys for Defendant TCC
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                             CERTIFICATE OF SERVICE


      I hereby certify that I have this day served attorney for the plaintiff with the
foregoing TELECOMMUNICATION CONTRACTING COMPANY, INC.’S
CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
DISCLOSURE STATEMENT by using the CM/ECF system, which will
automatically send e-mail notification of such filing to the following attorneys of
record:

         John O’Shea Sullivan                Wade K. Copeland
         Ashby K. Fox                        Charles M. McDaniel, Jr.
         Tala Amirfazli                      Erica L. Parsons
         Burr & Forman, LLP                  Carlock, Copeland & Stair, LLP
         171 17th Street NW, Ste. 1100       191 Peachtree St. NE, Ste. 3600
         Atlanta, Georgia 30363              Atlanta, Georgia 30303


         This _14th_ day of January, 2014.


                                          /s/ Paul W. Burke_____________
                                          Paul W. Burke
                                          Georgia Bar No. 095642

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00151-081468



Counsel for Defendant TCC certifies that this pleadings complies with Local Rule
7.1D.
